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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

In re:                                      )    Chapter 7
                                            )
ALEXANDER E. HERGAN,                        )    Case Number: 18-22283
                                            )
                            Debtor.         )    Hon. A. Benjamin Goldgar
                                            )


                              NOTICE OF WITHDRAWAL

         PLEASE TAKE NOTICE THAT, Glenna Mo (“Ms. Mo”), a creditor of Alexander E.

Hergan (the “Debtor”), by and through her undersigned counsel, hereby withdraws Docket

Number 106 titled Motion to Have Hearing on the Motion to Dismiss Case and Approval of

Shortened Notice Moved to Chicago that was filed on January 18, 2019 in the above-captioned

bankruptcy case.

Dated: January 29, 2019                 GLENNA MO

                                        By: _/s/ Devon J. Eggert______
                                               One of Her Attorneys

                                                Devon J. Eggert, Esq.
                                                FREEBORN & PETERS LLP
                                                311 South Wacker Drive, Suite 3000
                                                Chicago, Illinois 60606-6677
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                                               )
                             Debtor.           )   Hon. A. Benjamin Goldgar
                                               )

                               CERTIFICATE OF SERVICE

       I, Devon J. Eggert, an attorney, hereby certify that on January 29, 2019, I caused a true
and correct copy of the foregoing Notice of Withdrawal to be filed with the Court and served
upon the following parties by the manner listed.

                                                      /s/ Devon J. Eggert
CM/ECF Service List

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